   Case 4:22-cv-00559-ALM Document 30-5 Filed 11/06/23 Page 1 of 7 PageID #: 557
              EXHIBIT E
              Consumer                   Financial                 .   ,   .   •   „
                Protection Bureau . r. Start a new complaint
                             (nttps://www.consumertinance.gov/)


< All complaints (.)




230710-11495677
OPEN


©Submitted
    STATUS
    Submitted to the CFPB on 7/10/2023

    PRODUCT
    Money transfer, virtual currency, or money service

   ISSUE
    Fraud or scam


   We received your complaint. Thank you.

   We will review your complaint. Depending on what we find, we will
   typically:

      ¦ Send your complaint to the company for a response; or

      ¦ Send your complaint to another state or federal agency, or help
        you get in touch with your state or local consumer protection
         office; or

      ¦ Let you know if we need more information to continue our work.
Case 4:22-cv-00559-ALM Document 30-5 Filed 11/06/23 Page 2 of 7 PageID #: 558
 YOUR COMPLAINT

 On 1/21/2021 PayPal Reputation Manager, Kim Eichorn, sent out a
 press release to the mainstream media stating that PayPal had "booted"
 me from their services and falsely accused me of violating their
 policies. This fact was untrue. She was discriminating against me
 because of my political beliefs, as the company does not cancel those
 who are not Christians or Conservative politically. This is a violation of
 my Constitutional Rights, as well as a violation of Federal Law and
 PayPal's own Privacy Policies. PayPal's agent contacted CBS News, The
 Washington Post, The New York Post, NBC to share my private financial
 information. This personal information was shared broadly throughout
the mainstream media and all over the internet. My private financial
 information went viral and became world headline news in 1 hour. My
fundraising e forts were destroyed and the world was calling me a con
artist, grifter and it was humiliating and mortifying to see my name in
 national headlines like this: "Real Estate Agent, Jenna Ryan Booted
From PayPal for Violating Fundraising Policies." This destroyed my
reputation, I had to close my business and change my name. The next
day after this happened, my office in Frisco kicked me out due to
publicity. All of my businesses were destroyed. I was heckled in public.
I was shunned by vendors and contractors and clients. The next day I
was also canceled from all social media accounts, including Facebook
and Instagram, where I have been a social media Influencer for 1 5+
years. This created a cascade of cancellations and brands that canceled
me publicly, including iHeartMedia. It was and still is a nightmare. I
ended up filing suit in Federal Court against PayPal in an attempt to
stay out of arbitration, due to the expense of arbitration, and because I
wanted to go before a jury of my peers. The Judge ruled that my case
must go to arbitration, therefore, because I clicked a button to "accept"
PayPal one time in 2006, Paypal has the right for the rest of my life
eternally to require that I go to arbitration no matter what they do to
me. Even though PayPal canceled the contract, I am forever tethered to
this horrible arbitration agreement. I tried as hard as I could to find
representation for the arbitration, however, no attorney will take my
 Case 4:22-cv-00559-ALM Document 30-5 Filed 11/06/23 Page 3 of 7 PageID #: 559

  case for less than $350,000. And, they tell me that it will be hard to win
  because arbitrators traditionally rule in favor of the big corporation in
  orderto get repeat business. I do not have $350,000 to take up for
  myself against this billion dollar corporation. This has caused me
  enormous effort, expense, energy and left a trail of turmoil, hurt and
  financial damages. I have tried to settle with PayPal, but they are
  adamant that they did nothing wrong when they shared my financial
  information with the press and lied about me violating their policies,
  and discriminated against me for my political views. I will not rest until
  this matter is resolved. PayPal needs to pay for the damages they've
  caused, as well as be punished for violating the law and their own
  contract with me-and prohibited from putting people in life long,
  eternal arbitration agreements, regardless of what PayPal does to harm
  consumers. This is unfair and I need formal resolution through a higher
  power in the United States Government. This cannot stand.


  ATTACHMENTS
  ECF NO 9 Amended Com laint.pdf (1 MB)
  EOF No 25 Order granting motion to compel arbitration pdf (540.4 KB)


  View full complaint©




O Sent to company
  STATUS
  Sent to company on 7/10/2023


  We've sent your complaint to the company, and we will let you know
  when they respond.
 Case 4:22-cv-00559-ALM Document 30-5 Filed 11/06/23 Page 4 of 7 PageID #: 560

  Their response should include the steps they took, or will take, to
  address your complaint.

  Companies generally respond in 1 5 days. In some cases, the company
  will let you know their response is in progress and provide a final
  response in 60 days.




O Company still working
  STATUS
  Company response is in progress as of 7/24/2023


  The company has responded that it is still working on your
  issue

  In some cases, companies need more time to respond. You should
  receive a final response within 60 days from the date we sent your
  complaint to the company.




  COMPANY S INTERIM RESPONSE

  The issues raised in this complaint are still being researched.
      Case 4:22-cv-00559-ALM Document 30-5 Filed 11/06/23 Page 5 of 7 PageID #: 561
          EXHIBIT E
                                                   KEN PAXTON
                                               ATTORNEY GENERAL OE TEXAS




                                               Complaint Summary

Name of per on you dealt with                               Robert C. Vartabedian

How did you first come into contact with this business or
                                                            Other
individual?
If other, please specify.                                   Through recommendation on partner websites.


If you responded to a solicitation in another language,
which?


Where did the transaction take place                        Over the computer

If other, please specify


Transaction Date                                            1/21/2021
                                                            On 1/21/2021 PayPal Reputation Manager, Kim Eichom,
                                                            sent out a press release stating that PayPal had canceled my
                                                            account for violating fund raising policies. This fact was
                                                            untrue. She was discriminating against me because of
                                                            Januaiy 6th and she only allows Liberals to do fundraising
                                                            for BLM, not Conseratives.

                                                            PayPal's agent contacted CBS News, The Washington Post,
                                                            The New York Post, NBC and sent out a press release
                                                            regarding my private financial information in violation of
                                                            their own privacy policies (DTPA) and in violation of
                                                            federal law.

                                                            My private financial information went viral and became
                                                            world headline news in 1 hour. My fundraising efforts were
                                                            destroyed and the world was calling me a con artist, grifter
                                                            and it was humilitating and mortifying to see y name in
                                                            national headlines like this: "Real Estate Agent, Jer a Ryan
                                                            Booted From PayPal for Violating Fundraising Policies."
                                                            This destroyed my reputation, I had to close my business
                                                            and change my name.

                                                            The next day after this happened, my office in Frisco kicked
                                                            me out due to publicity. All of my businesses were
                                                            destroyed. I was heckled in public. I was shunned by
                                                            vendors and contractors and clients. The next day I was also
                                                            canceled from all social media accounts, including Facebook
                                                            and Instagram, where I have been a social media influencer
                                                            for 15+years. This created a cascade of cancellations and
                                                            brands that canceled me publicly, including iHeartMedia. It
                                                            was a night are.

Please describe your complaint in detail                    I ended up filing suit in Federal Court against PayPal in an
                                                            attempt to stay out of arbitration, due to die expense of
                                                            arbitration, and because I wanted to go before a jury of my
                                                            peers. The Judge ruled that my case must go to arbitration,

                                                      Paee2 of -
      Case 4:22-cv-00559-ALM Document 30-5 Filed 11/06/23 Page 6 of 7 PageID #: 562



                                                    KEN PAXTON
                                                A TORNEY GENERAL OE EXAS


                                                              therefore, because I clicked a button to "accept" PayPal one
                                                              time in 2006, Paypal has the right for the rest of my
                                                              life-eternally to require that I go to arbitration no matter
                                                              what they do to me. Even though PayPal canceled the
                                                              contract, I am forever tethered to this horrible arbitration
                                                               agreement.

                                                              I tried as hard as I could to find representation for the
                                                              arbitration, however, no atto ey will take my case for less
                                                              than $350,000. And, they tell me that it will be hard to win
                                                              because arbitrators traditionally rule in favor of the big
                                                              corporation in order to get repeat business.

                                                              This has caused me enormous effort, expense, energy and
                                                              left a trail of tur oil, hurt and financial damages. I have
                                                              tried to settle with PayPal, but they are adamant that they did
                                                              nothing wrong when they shared my financial fonnation
                                                              with the press and lied about me violating their policies, and
                                                              discriminated against me for my political views.

                                                              I will not rest until this matter is resolved. PayPal needs to
                                                              pay for the damages they've caused, as well as be punished
                                                              for violating the law and their own contract with me and
                                                              prohibited from putting people in life lon , eternal
                                                              arbitration agreements, regardless of what PayPal does to
                                                              harm consumers. This is unfair and I need formal resolution
                                                              through a higher power in the Texas Government. This
                                                              cannot stand.


Have you complained to the business or individual?            Yes

If Yes, when?                                                 8/9/2022
                                                              CIVIL ACTION NO 4:22-cv-559 The case is pending
What as the business' or the individual's response?
                                                              arbitration which is costly and beyond my ability to pay.

Did you sign a contract?                                      Yes

How much did the company/individual ori inally ask
                                                              $20.00
you to pay?
How much did you actually pay?                                $20.00
                                                              DEBIT
Method of Payment

Date of Payment                                               1/21/2021

Have you contacted another agency or attorney about
                                                              Yes
this complaint?
                                                             Robert C. Vartabedian
                                                             Partner
                                                             ALSTON & BIRD
                                                             301 Commerce Street, Suite 3635
If yes, please list name and address of the agency or        Fort Worth, TX 76102

                                                        Pa e 3 ci
     Case 4:22-cv-00559-ALM Document 30-5 Filed 11/06/23 Page 7 of 7 PageID #: 563



                                                KEN PAXTON
                                            ATIORNEY GENERAL OF EXAS


attorney?                                               +1 682 354 2003 (0)

                                                        +1 510 325 8516 (M)
                                                         Rob. Vartabediai+tfalston,coin
                                                        Argued to force me into arbitration that is usurious,
What action was taken by this agency or attorney?       expensive and out-of-reach due to their smear campaign,
                                                         financial ruin and cost to fight a billion dollar company.




                                                    Pase4 of4
